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 5
                               UNITED STATES DISTRICT COURT
 6                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

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 8                                                     CASE NO.: 4:18-cv-02931-HSG
       IN RE UBER TEXT MESSAGING
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                          ORDER GRANTING MOTION TO
15          APPEAR TELEPHONICALLY AT CASE MANAGEMENT CONFERENCE

16          The Court, having considered Plaintiff Vario’s Motion seeking permission for her counsel,

17   Steven Woodrow, to appear telephonically at the October 23, 2018 Case Management Conference,

18   and being duly advised in the premises, it is hereby ORDERED as follows:

19          1. The Motion is GRANTED;

20          2. Counsel shall contact CourtCall at (866) 582-6878 to make arrangements for the

21             telephonic appearance.

22          IT IS SO ORDERED

23
      October 11, 2018                               By: _______________________________
24                                                        HON. HAYWOOD S. GILLIAM, JR.
25                                                        U.S. DISTRICT JUDGE

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